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5
                                  UNITED STATES DISTRICT COURT
6
                                 WESTERN DISTRICT OF WASHINGTON
7                                          AT SEATTLE
8
9      UNITED STATES OF AMERICA,                                 Case No. CR23-5287-RSL

10                            Plaintiff,                         ORDER GRANTING
11                       v.                                      UNOPPOSED MOTION TO
                                                                 CONTINUE TRIAL AND
12     WAYLAN GRAVES,                                            PRETRIAL MOTIONS
13                            Defendant.                         DEADLINE

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            This matter comes before the Court on defendant’s “Unopposed Motion to Continue Trial
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     and Pretrial Motions Deadline” (Dkt. # 20). Having considered the facts set forth in the motion,
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     and defendant’s knowing and voluntary waiver (Dkt. # 21), the Court finds as follows:
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            1.      The Court adopts the facts set forth in the unopposed motion. In particular, that
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     discovery is still ongoing. The Court accordingly finds that a failure to grant a continuance
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     would deny counsel, and any potential future counsel, the reasonable time necessary for
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     effective preparation, taking into account the exercise of due diligence, within the meaning of 18
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     U.S.C. § 3161(h)(7)(B)(iv).
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            2.      The Court finds that a failure to grant a continuance would likely result in a
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     miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
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            3.      The Court finds that the additional time requested between the current trial date of
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     December 11, 2023, and the proposed trial date to be set no later than June 30, 2024, is a
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     reasonable period of delay. The Court finds that this additional time is necessary to provide
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     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 1
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 1 defense counsel reasonable time to prepare for trial, as defendant has requested more time to
 2 prepare for trial, to continue to investigate the matter, to gather evidence material to the defense,
 3 and to consider possible defenses. The additional time requested between the current trial date
 4 and the new trial date is necessary to provide counsel for the defendant the reasonable time
 5 necessary to prepare for trial, considering all of the facts set forth above.
 6         4.      The Court further finds that this continuance would serve the ends of justice, and
 7 that these factors outweigh the best interests of the public and defendant in a speedier trial,
 8 within the meaning of 18 U.S.C. § 3161(h)(7)(A).
 9         5.      Defendant has signed a waiver indicating that he has been advised of his right to a
10 speedy trial and that, after consulting with counsel, he has knowingly and voluntarily waived
11 that right and consented to the continuation of his trial to a date up to and including June 30,
12 2024, Dkt. # 21, which will permit his trial to start on June 17, 2024.
13         IT IS HEREBY ORDERED that the trial date shall be continued from December 11,
14 2023 to June 17, 2024, and pretrial motions are to be filed no later than May 20, 2024;
15         IT IS FURTHER ORDERED that the period of time from the date of this Order, up to
16 and including the new trial date, shall be excludable time pursuant to the Speedy Trial Act, 18
17 U.S.C. § 3161, et seq. The period of delay attributable to this filing and granting of this motion
18 is excluded for speedy trial purposes pursuant to 18 U.S.C. §§ 3161(h)(1)(D), (h)(7)(A), and
19 (h)(7)(B).
20         DATED this 3nd day of November, 2023.
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23                                                    ______________
24                                                    Robert S. Lasnik
                                                      United States District Judge
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     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 2
